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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0946 (CKK)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

             Defendants.


 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0952 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.


 LEAGUE OF WOMEN VOTERS
 EDUCATION FUND, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0955 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.

                                           ORDER
                                        (April 24, 2025)

       For the reasons stated in the accompanying Memorandum Opinion, it is ORDERED that

the Joint [34] Motion for a Preliminary Injunction filed by the League of United Latin American

Citizens, the Secure Families Initiative, and the Arizona Students’ Association (collectively, the

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“LULAC Plaintiffs”), and the League of Women Voters Education Fund, the League of Women

Voters of the United States, the League of Women Voters of Arizona, the Hispanic Federation, the

National Association for the Advancement of Colored People, OCA – Asian Pacific American

Advocates, and Asian and Pacific Islander American Vote (collectively, the “League Plaintiffs”)

is GRANTED and the [53] Motion for a Preliminary Injunction filed by the Democratic National

Committee, Democratic Governors Association, Democratic Senatorial Campaign Committee

(DSCC), Democratic Congressional Campaign Committee (DCCC), U.S. Senate Minority Leader

Charles E. Schumer, and U.S. House Minority Leader Hakeem S. Jeffries (collectively, the

“Democratic Party Plaintiffs”) is GRANTED IN PART and DENIED IN PART, as follows:

   •   The LULAC Plaintiffs’ and League Plaintiffs’ Joint [34] Motion and the Democratic Party
       Plaintiffs’ [53] Motion are both GRANTED as to Section 2(a) of Executive Order 14,248.
       Defendants U.S. Election Assistance Commission (“EAC”); Donald L. Palmer in his
       official capacity as Chairman and Commissioner of the EAC; Thomas Hicks, Benjamin W.
       Hovland, and Christy McCormick, in their official capacities as Commissioners of the
       EAC; and Brianna Schletz, in her official capacity as Executive Director of the EAC, are
       PRELIMINARILY ENJOINED from taking any action to implement or give effect to
       Section 2(a) of Executive Order 14,248, including taking any action based on the Executive
       Order to modify the content of the federal voter registration application form described in
       52 U.S.C. § 20508(a)(2) to require documentary proof of United States citizenship.

   •   The Democratic Party Plaintiffs’ Motion is GRANTED as to Section 2(d) of Executive
       Order 14,248. Defendants Department of Defense, Department of Veterans Affairs,
       Department of the Interior, Small Business Administration, Peter Hegseth in his official
       capacity as Secretary of Defense, Douglas Collins in his official capacity as Secretary of
       Veterans Affairs, Douglas Burgum in his official capacity as Secretary of the Interior, and
       Kelly Loeffler in her official capacity as Small Business Administrator, are
       PRELIMINARILY ENJOINED from taking any action to implement or give effect to
       Section 2(d) of Executive Order 14,248, including failing to provide the federal voter
       registration application form described in 52 U.S.C. § 20508(a)(2) or an equivalent form
       to any applicant for service or assistance based on an inability to “assess citizenship.”

   •   The Democratic Party Plaintiffs’ Motion is DENIED as to Sections 2(b), 7(a), and 7(b) of
       Executive Order 14,248.

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       For the reasons stated in the accompanying Memorandum Opinion, no Plaintiff is required

to post an injunction bond or any other security as a condition of obtaining the injunctions

described in this Order.

       Nothing in this Order or the accompanying Memorandum Opinion shall prevent

Defendants from taking any lawful action that is not based on Sections 2(a) or 2(d) of Executive

Order 14,248 or any substantially similar instruction by the President.



       SO ORDERED.

       Dated: April 24, 2025


                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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